AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                            FILED
                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                                                                                         NOV 2 4 2021
                                             Eastern District of North Carolina                                       PETER A. MOORE, JR., CLERK
                                                                                                                       US D~      COURT, EDNC
                                                                                                                     BY_+-....,,.~- - DEP CU<
                  United States of America                       )
                               v.                                )
                                                                 )
              AMOS DEKENDRIC PARKER                              )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               September 5, 2021              in the county of            Pasquotank               in the
     Eastern          District of        North Carolina      , the defendant(s) violated:

            Code Section                                               Offense Description
                                             Possession of Ammunition by Convicted Felon
Title 18 US. 922(g)(1)




         This criminal complaint is based on these facts :
See attached affidavit.




         ,! Continued on the attached sheet.

On this day,   c,MtsToe~ It . ~ 6'--S
appeared before me via reliable electronic means,
was placed under oath, and attested to the
                                                                                  Ck;&.~- -
                                                                                    Christopher A. Hedges, SA FBI
contents of this Criminal Complaint.                                                        Printed name and title




Date:   2..J{ ~ '2e:Z...(                                                           ~               .:;;
                                                                                                                     ----
                             Raleigh, North Carolina                         JAMES E. GA TES, United States Magistrate Judge
City and state:
                                                                                            Printed name and title




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                       UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF NORTH CAROLINA


                              Probable Cause Affidavit

I, Christopher A. Hedges, hereinafter designated as affiant, having been duly sworn

according to law depose and state that:

      1. Affiant is employed as a Special Agent (S/A) for the Federal Bureau of

Investigation (hereinafter FBI) and has been so employed since September, 2004. In

this capacity, I have conducted investigations related to federal firearms law in various

criminal matters.

      2. Affiant's dutie s include, but are not limited to, enforcing the federal firearms

laws as well as other laws committed in violations of federal statute s. During your

affiant's employment with the FBI, affiant h as conducted and assisted in several

investigations related to federal firearms violations. Prior to becoming employed by the

FBI, affiant was an officer in the United States Marine Corps.

                                     Pur ose of Affidavit

      3. Affiant makes this affidavit in support of an application for the issuance of a

criminal complaint in the matter of AMOS DEKENDRIC PARKER (hereinafter

PARKER) for suspected violation of Title 18, United States Code, Section 922(g)(l) -

Felon in possession of ammunition.

      4. The facts contained in this affidavit are the product of my investigation and

the investigation of other law enforcement officers. The facts contained herein do not

reflect all of my knowledge on this matter but are merely to establish the probable cause

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that the above captioned violation has occurred.

        5. On Sunday, September 5, 2021 , shortly after 5:00 am, Elizabeth City Police

Department (ECPD) Officer J.D. Colon responded to the intersection of East Colonial

Avenue and North McMorrine Street in Elizabeth City, North Carolina in reference to

gunshots fired. Upon arrival, Officer Colon discovered that several buildings and a

utility pole on North McMorrine Street sustained what appeared to be damage from

gunshots. Officer Colon located sixteen .223 caliber shell casings and eight Ruger .45

caliber shell casings on the sidewalk and street in the vicinity of 502 East Colonial,

Elizabeth City, North Carolina.

        6. After securing the scene, Officer Colon located a witness, who stated that he

observed the shots fired. The witness advised that there was some sort of disturbance

between "BAY BAY," TAVORI LINDSEY, and an unknown male. The witness stated

that during the disturbance, "BAY BAY'' and LINDSEY began firing at the unknown

male. The witness also told officers that "BAY BAY'' fired a handgun and LINDSEY

fired a rifle.1

        7. Later that evening, Officer Colon and Sergeant B.J. Martin reviewed audio and

video footage from an Elizabeth City camera that was located on a utility pole at the

southwest corner of East Colonial Avenue and North McMorrine Street. Sgt Martin was

able to positively identify the individual in the video footage who was firing the handgun

as PARKER, who he recognized based on prior law enforcement contacts with PARKER.



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  " BAY BAY" has been previously identified, through the use of cooperating defendants, as AMOS DEKENDRIC
PARKER. Additionally, a review of PARKER's National Crime Information Center (NCIC) revealed one of his alias' s
is BAY BAY PARKER.

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      8. On September 20, 2021, your affiant reviewed the audio and video footage from

the camera listed above. At approximately 5:00 am , PARKER can be seen on the

recording exiting a storefront door in the vicinity of the northeast corner of East Colonial

Avenue and North McMorrine Street. PARKER then walked east on Colonial Avenue

and met up with LINDSEY who exited a storefront door in the vicinity of City Cues, an

after hours club located at 504 East Colonial Avenue. Someone can be heard on the

recording stating, "We killing everything out of this bitch.". PARKER turned and began

walking west on East Colonial Avenue toward the city camera located at the intersection

of East Colonial and North McMorrine. PARKER stopped in the intersection , under the

street lights, and stated," I'm gonna shoot them too." PARKER then turned and walked

back east down East Colonial Avenue on the southern sidewalk.

      9. A few moments later, two unidentified black males exited a storefront door in

the vicinity of City Cues and began walking west down East Colonial Avenue on the

southern sidewalk, toward PARKER. After they passed, PARKER pulled a handgun

from his waistband and fired toward both of them. The two unidentified males fled

while PARKER walked back across East Colonial Avenue to the north side of the street

and fired approximately seve n shots south toward the southeast corner of East Colonial

Avenue and North McMorrine Street.           While PARKER was firing the handgun,

LINDSEY began to fire an AR-15 style rifle , which he was carrying upon his return to

the sidewalk. PARKER and LINDSEY then fled east down East Colonial Avenue. The

shell casings referenced above were recovered from locations consistent with where the

firearms appeared to be fired from in the video. Additionally, based on the video and

the witness' account, no other firearms were discharged in t h e area.

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         10. Your affiant reviewed the NCIC r ecord associated with PARKER and found

that PARKER is a convicted felon. On July 29, 2003, he was convicted of Common Law

Robbery in Pasquotank County Superior Court and received a sentence of 13 to 16

months imprisonment. On February 4, 2009, he was convicted of Accessory after the

Fact to Robbery with a Dangerous Weapon in Pasquotank County Superior Court and

received a sentence of 19 to 23 months imprisonment.         On April 23, 2019, he was

convicted of Possession with Intent to Manufacture, Sell, or Deliver Cocaine and

Possession with Intent to Sell or Deliver Marijuana in Pasquotank County Superior

Court and received a sentence of 10 to 21 nionths imprisonment. PARKER'S transcripts

of plea for the each of the above convictions show he pleaded guilty to the offenses while

represented by counsel; thus, he would have been aware of his status as a convicted

felon.

         11. On November 23, 2021, your affiant consulted with Bureau of Alcohol,

Tobacco, and Firearms Senior Special Agent John Griffin, who determined that the

Ruger .45 caliber shell casings recovered from the vicinity of East Colonial Avenue and

North McMorrine Street in Elizabeth City, North Carolina were not manufactured in

the state of North Carolina, thereby affecting interstate commerce.




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      12. Based on the foregoing investigation, I have probable cause to believe that

AMOS DEKENDRIC PARKER did possess ammunition as a convicted felon in violation

of Title 18, United States Code, Section 922(g).




                                                         . HEDGES
                                       Special Agent
                                       Federal Bureau of Investigation



On this ~ day of ~ , 201d_, Special Agent Christopher A Hedges
appeared before me via reliable electronic means, was placed under oath, and attested
to the contents of this  da · .



J
United States Magistrate Judge




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